           UNITED STATES DEPARTMENT OF AGRICULTURE
                  ANIMAL AND PLANT HEALTH INSPECTION SERVICE
                   INVESTIGATNE AND ENFORCEMENT SERVICES

                              REPORT OF INVESTIGATION
        Case Number:       IA120008-AC

            Subject(s):    Pamela & Tom Sellner                   Registered Agent:
  (Contact Information)    D.b.a. Cricket Hollow Zoo              Pamela Sellner
                           1512 210th St.                         1512 210th St.
                           Manchester, IA 52057                   Manchester, IA 52057
                           Phone (563) 927-6655                   Phone (563) 927-6655
                           www.crickethollowzoo.com

                          (b)(6), (b)(7)C
          Investigator:
  (Contact Information)




       Date of Report:     October 25, 2012


                    [gl Substantiated allegation(s)

                    D      No violation(s)

                    D      Insufficient evidence

                    D      Fact finding

                    D      Contains Confidential Business Information


                                 FOR OFFICIAL USE ONLY
   This document and its contents are not to be distributed outside your agency, or duplicated,
       without prior consent from USDA APHIS Investigative and Enforcement Services.

[gl Reviewer(s) - - - - - -




    Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 1 of 19
                                            Case #C14-02034 JSS                 EXHIBIT 15 PAGE 0001
Case Number: IA120008-Ac                                                 Date: October 25, 2012


                                             SYNOPSIS


          On 08/16111, 12/0811, 05/1612, and 07/2912, routine inspections were conducted at
    Cricket Hollow Zoo (CHZ), a USDA licensed zoo facility, owned and operated by Pamela (P;
    SELLNER) and Tom Sellner (T. SELLNER). The inspections were conducted by USDA,
    Animal and Plant Health Inspection Service (APHIS), Animal Care (AC) Veterinary Medical
    Officer (VMO) and Animal Care Inspectors (ACis) in order to monitor the licensee's compliance
    with the Animal Welfare Act (AW A) and its regulations and standards. During the inspections,
    the VMO arid ACis observed several non-compliances and documented them on inspection
    reports under the appropriate section of the regulations. CHZ failed to provide adequate
    veterinary care for an excessively thin baboon and to have a calico buck hooves trimmed. CHZ
    failed to provide an enclosure with a floor for one sheepdog, this shelter also fails to have a
    wind/rain break. CHZ failed to repair the divider in the Angora rabbit enclosure. CHZ failed to
    clean the rabbit enclosures. CHZ failed to refrigerate foodstuff allowing pest to accumulate. CHZ
    failed to provide adequate lighting throughout animal enclosures. CHZ failed to contain a baby
    baboon in the enclosure. CHZ failed to clean excessive accumulation of animal waste on
    perches. CHZ failed to maintain control of flies and mice in the non-human primate area. CHZ
    failed to provide adequate shelter for the camel to stand comfortably. CHZ failed to clean
    watering receptacles for the cavy, capybara and the bobcat. CHZ failed to clean excessive
    amounts of animal waste in several animal enclosures. CHZ failed to clean debris in the
    walkways of the back mammal housing area. CHZ failed to provide enough employees to
    maintain the facility. CHZ repeated failure to have four goats hooves trimmed. CHZ failed to
    repair the chain link fence in the dog enclosure. CHZ failed to water dogs on a regular basis.
    CHZ repeated failure to clean rabbit enclosures of excessive amount of animal waste. CHZ
    repeat failure to keep food stuffs from spoilage. CHZ failed to clean dirt, debris, and animal oils .
    on the enclosures walls of the non-human primates. CHZ failed to repair a gap in the fence and
    the ground in the Santa Cruz sheep enclosure leaving wires exposed at the bottom. CHZ failed to
    have two enclosures housing the tigers do not have adequate kick-ins. CHZ failed to provide
   ·drainage in the Scottish Highlander area. CHZ failed to keep sheep out of hay feeders. CHZ
    repeated failure to keep several tiger' and lions cage clean from excessive accumulation of animal
    waste. CHZ repeat failure to have an effective fly and fruit fly control program implemented.
    CHZ failed to clean the excessive buildup of dirt and debris in the dog enclosure. CHZ failed to
    maintain surfaces to be rust free in the main primate enclosure. CHZ repeated failure to clean
    excessive amounts of dirt, derbies, and animal oils on the panels that comprise the enclosure
    walls of the main non-human primate building. CHZ failed to maintain covers on two trash
    receptacles. CHZ repeated failure to clean garbage receptacles on a regular basis allowing pest
    and flies to gather. CHZ failed to shear or clean llamas, rabbit and sheep dog that are heavily
    matted. CHZ failed to clean non-human primate building in a matter to demonstrate proper
    husbandry practices. CHZ failed to clean the indoor part of the primate building. CHZ repeated
    failure to maintain pest control of flies and gnats in the educational building and repeated failure
    to have an effective fly control program.




                                                                                              Page 2of19


     Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 2 of 19
                                        Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0002
Case Number: IA120008-AL                                                 Date: October 25, 2012


                                         BACKGROUND

Subiect(s) Information
P.SELLNER and T.SELLNER are husband and wife. The SELLNERS operate a dairy farm adjacent
to CHZ. CHZ is currently licensed with USDA as an Exhibitor. Their license number is 42-C-0084
and their customer number is 5143. CHZ has been licensed with the USDA for approximately nine
years. CHZ currently houses lions, tigers, bears, non-human primates, foxes, wolves, coyotes, reptiles,
poultry and various domestic farm animals. Visitors pay an entrance fee and proceed on a self-guided
tour. CHZ is a domestic non-profit corporation in the State oflowa with a business number of306754.
The corporation :was created on 01/13/05, and is currently active. P. SELLNER is the registered agent
for the corporation.

Subject(s) Previous History

Prior Enforcement Actions
The IES ITEMS system shows CHZ was previously involved in case IAl 1057-AC (Non-
Investigative). Repeated failure to provide adequate veterinary care; repeated failure to construct and
maintain the housing facilities structurally sound and in good repair; repeated failure to keep premises
clean and in good repair; etc. Case IAI 1057-AC was closed with an Official Warning for Violations of
Federal Regulations (APHIS 7060) being issued to CHZ on 05/26/11. Other history for CHZ exceeds
the five year limit.




Prior Adjudications
NIA




                                                                                              Page 3of19


      Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 3 of 19
                                         Case #C14-02034 JSS                       EXHIBIT 15 PAGE 0003
 Case Number: IA120008-AC                                                    Date: October 25, 2012


                                               NARRATIVE


 Basis for Investigation
 This investigation was requested by Dr. Robert Gibbens, USDA-APHIS-AC Western Regional
 Director, in his letter dated 04/09/12 (Exhibit 1). The request was made due to CHZ repeat chronic
 non-compliances since July 2010.


 Investigative Findings



                                              August 16, 2011

  On 08/16/11, Veterinary Medical Officer (VMO) Heather Cole and Animal Care Inspector (ACI)
  Cynthia Neis conducted an inspection of the CHZ animal facility. ACI Neis completed an inspection
  report which documents CHZ failed to have a 30 year old Hamadryas baboon, showing signs of being
  thin, muscle loss and generalized hair loss, evaluated by the attending veterinarian. The report also
  documented that CHZ failed to trim the hooves of a calico buck. CHZ failed to provide a housing
  facility for a sheepdog with a floor and a wind/rain break at the entrance. CHZ failed to repair a rabbit
  enclosure where a divider separated from the wood supports exposing bare wires which protruded into
  the enclosure. CHZ failed to clean shelter boxes of the rabbit enclosures resulting in excessive
  accumulation of animal waste. CHZ failed to maintain open boxes of foodstuff in a refrigerated area,
· thus causing excessive flies and fruit flies to hover over the foodstuffs. CHZ failed to provide
  adequate lighting in the Ring-tailed lemur enclosure located in the reptile house. CHZ failed to have an
  enclosure that contained a one year old Hamadryas baboon. CHZ failed to clean and sanitize perches
  in the non-human primate building. CHZ failed to maintain an effective fly control program. All areas
  housing non-human primates, and most of the premises, had an excessive presence of flies. CHZ failed
  to provide a shelter from inclement weather for the camel. The camel had pushed its shelter off of the
  base. In doing so, the shelter was not tall enough to allow the camel.to stand comfortably within the
  shelter. CHZ failed to clean and maintain water receptacles. There is an excessive presence of algae in
  the water receptacles belonging to the cavy, the capybara, and the bobcat. CHZ failed to clean
  enclosures. There is an excessive presence of animal waste in the following enclosures; bear, llama,
  kinkajou (educational center), African porcupine, and armadillo. CHZ failed to keep the premises
  (buildings and grounds) cleaned and in good repair. Boxes, empty feed bags, bags of feed, and open
  bags of feed are being stored in walkways at the back of the reptile building; none of which are
  maintained in an orderly fashion. CHZ failed to provide an effective fly control program. There is
  excessive presence of flies throughout the facility. CHZ failed to have sufficient number of adequately
  trained employees. The prior three inspection reports have documented a significant number of non-
  compliant items. The facility owners currently have other jobs and are the only ones doing the work at
  the regulated facility. Given consideration to the demands on the facility owners, the number of
  animals, the species of animals; and inspection history: it is apparent that there are not a sufficient
  number of employees at this facility (Exhibit 2). During the inspection, VMO Cole took numerous
  photographs which show: the baboon had signs of hair loss and being thin and the calico buck has
  excessively long hooves on its rear legs (Exhibit 3); the sheepdog enclosure does not have a floor, and
  lacks a wind break and rain break at the entrance of the shelter (Exhibit 4); the center divider in one of
                                                                                                    Page 4 of19


        Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 4 of 19
                                           Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0004
Case Number: IA120008-AC                                              Date: October 25, 2012

the Angora rabbit boxes is in disrepair (Exhibit 5); all of the shelter boxes of the rabbit enclosures
have an excessive accumulation of animal waste (Exhibit 6); improper storage of fruits and vegetables
in non-refrigerated and open containers (Exhibit ]j; a one year old Hamadryas baboon escaped from
the primary enclosure (Exhibit fil; excessive feces on a perch belonging to the Red Ruffed Lemur
(Exhibit 9); excessive presence of flies and fly waste in primate building (Exhibit 1O); the shelter in
the camel enclosure is off its base and is not of sufficient height to allow camel to remain in the shelter
comfortably (Exhibit 11 ); excessive algae build up in water receptacles (Exhibit 12); excessive animal
waste in the African porcupine, llama, bear, and civet enclosures (Exhibit 13); improper storage of
equipment and discarded material (Exhibit 14); excessive fly waste on caging equipment (Exhibit 15);
The USDA-APHIS-AC Western Regional Office provided a CD which contains the photographs taken
during the 08/16111 inspection (Exhibit 16).




                                           December 08, 2011

On 12/08/11, VMO Cole and ACI Neis conducted an inspec.tion of the CHZ animal facility. ACI Neis
completed an inspection report which documents CHZ failed to have at least four goats hooves
trimmed; CHZ failed to repair a support rail in the dog enclosure; CHZ failed to maintain water for the
dogs and keep the watering receptacles clean and free of debris; CHZ failed to keep the rabbit
enclosures clean of animal waste and hair; CHZ failed to refrigerate foodstuffs to prevent spoilage;
CHZ failed to clean dirt, debris and animal oils from the walls of enclosures in the nonhuman primate
building and reptile building; CHZ failed to repair or replace the fence in the Santa Cruz sheep
enclosure; CHZ failed to have proper drainage in the Scottish Highlander enclosure. The animals were
forced to stand in the mud in order to drink and get to the hay; CHZ failed to clean animal waste from
several animal enclosures throughout the facility; CHZ owners continue to have the same outside work
obligations and have no additional employees. The current inspection report demonstrates that the
work load continues to exceed staffing levels (Exhibit 21); During the inspection VMO Cole took
photographs which show excessively long hooves on the goats (Exhibit 22); the structure in the dog
enclosure acting as a sun and weather break is damaged and not structurally sound (Exhibit 23); the
dogs had not been watered for 24 hours, and the water receptacle was excessively dirty (Exhibit 24);
there is excessive presence of animal hair and waste in the rabbit enclosure (Exhibit 25); foodstuffs
stored in open crates; (Exhibit 26); excessive presence of dirt, debris, and animal oils on the enclosure
walls of the nonhuman primate enclosures (Exhibit 27); damaged bottom line of fence with sharp
points exposed to animals and in the tiger enclosures the tops are missing on the cages (Exhibit 28);
insufficient drainage in the Scottish highlander cattle enclosure (Exhibit 29); sheep standing in feeder
contaminating their food supply (Exhibit 30); excessive presence of animal waste in the tiger and
porcupine enclosures (Exhibit31); The USDA-APHIS-AC Western Regional Office provided a CD
which contains the photographs taken during the 12/08/11 inspection (Exhibit 16).




                                                                                                 Page 5of19


       Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 5 of 19
                                           Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0005
Case Number: IA120008-AC                                           Date: October 25, 2012

                                            May 16, 2012

On 05/16/12, VMO Cole and ACI Neis conducted an inspection of the CHZ animal facility. ACI Neis
completed an inspection report which documents CHZ failed to clean the dog enclosure of dirt and
debris on the exterior and interior surfaces; CHZ failed to maintain rusty surfaces in the main primate
building; CHZ failed to clean the dirt, debris and animal oils from the wall in the main primate
building; CHZ failed maintain garbage receptacles in the educational center; CHZ failed to empty
garbage receptacles in the educational center without cover on them. There is an excessive presence of
gnat like insects and flies in the area (Exhibit 32); During the inspection VMO Cole took photographs
showing excessive buildup of dirt and debris on surfaces of shelters (Exhibit 33 ); there is excessive
rust on the animal enclosures in the main primate building (Exhibits 33 backside & 34); There is an
excessive build of dirt, debris, and animal oils on enclosures (Exhibit 34); The USDA-APHIS-AC
Western Regional Office provided a CD which contains the photographs taken during the 05/16/12
inspection (Exhibit 16).




                                            June 29, 2012

On 06/29/12, ACI John Lies conducted an inspection of the CHZ animal facility. ACI Lies completed
an inspection report which documents CHZ failed to maintain matted coats on llamas, rabbit and sheep
dog; CHZ failed to clean dirt, debris, spider webs, and old foodstuffs in the nonhuman primate
building; CHZ failed to store foodstuffs in a manner that protects it from possible contamination and
vermin infestation in the nonhuman primate building; CHZ failed to clean the primate enclosure of
food and animal waste; CHZ failed to have garbage containers with lids on them in the educational
center; CHZ has a fly control problem in the animal buildings and needs to establish an effect control
program (Exhibit 35); During the inspection ACI Lies took photographs showing Llama, rabbits and a
sheep dog with matted coats (Exhibit 36); old bedding, dirt, and feces, in nonhuman primate building
(Exhibit 37); an open box of food in the primate area attracting flies (Exhibit 38); food and animal
waste inside of primate enclosure (Exhibit 39); and an open garbage receptacle in the educational
center (Exhibit 40).

On 07110112, (b)(6), (b)(7)C was interviewed by Investigator (b)(6), (b) . (b)(6), explained that he
had gone to the SELLNER'S facility 08/24/11, and met with (7)C               (b)(7)C
                                                                 ACI Neis. They  did a walk-through of
the facility to inspect the welfare of the animals. He looked at the 30 year old baboon named Salima.
He recommended the SELLNER'S do the best they could for her, as she was getting very old (Exhibit
11). (b)(6),    provided copies of service call records listing; COMMENTS: Walk through
     (b)(7)C
(b)(6),  y USDA inspects animals- all healthy (Exhibit 18) and (b)(6), (b)(7)C               invoice
(b)(7)C
number 84167 showing billing for the call (Exhibit 19).

On 07/11112, P. SELLNER was interviewed by Investigator (b)(6), . P. SELLNER provided an
                                                              (b)
affidavit and stated her responses to the August 16, 2011 inspection report. P. SELLNER stated the
baboon had died in December 2011 and was buried on the farm.  (7)CShe explained that the animal's age
accounted for its condition. P. SELLNER did have the baboon checked by her attending veterinarian
(b)(6), (b)(7)C . She confirmed that they trimmed the goats and sheep hooves shortly after the
inspection. P. SELLNER stated they added a different dog shelter and turned the shelter to face the
                                                                                              Page 6of19


       Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 6 of 19
                                         Case #C14-02034 JSS                       EXHIBIT 15 PAGE 0006
Case Number: IA120008-AC                                             Date: October 25, 2012


adjacent building per ACI suggestion. She stated that they re-enforced the rabbit boxes with metal
braces; P. SELLNER explained that volunteers from the local town clean the rabbit boxes on a regular
basis (Thursday and Friday). P. SELLNER stated They added new refrigerators and containers to the
nonhuman primate areas to store the foodstuffs; she stated that in the lemur house she added a new
light to the enclosure. P. SELLNER explained that the baby baboon could squeeze through the
enclosure so she put a top on it shortly after the inspection. The baboon has since grown and can't fit
though anymore. She stated that the macaques enclosure has been scrubbed and cleaned on a regular
basis. They are going to clean the floors after they finish painting the area. P. SELLNER stated that the
mouse problem is under control as they set out poison and traps, she added they are still working on
the fly issue and are currently using fly sticky strips and Golden Malrin. She mention that they are
going to contract their veterinarian for advise per USDA suggestion. P. SELLNER stated that the
camel has been moved to a new location and has a shelter that allows it to stand comfortably. P.
SELLNER stated that to prevent algae growth in the water receptacles they put up a shade block. P.
SELLNER stated that in the educational center they cleaned and painted the walls and is trying to do a
better job of daily cleaning. She stated that they put in refrigerators and moved the empty feed bags
into the storage area in the reptile building. P. SELLNER again stated that the fly problem is
something they are working on and they are going to contact their veterinarian to remedy the issue.
She explained that hiring more employees is not economical. She mentioned that they hired an intern
and also part-time help which take a little pressure off. P. SELLNER pointed out that they had
installed automatic waters and different types of feeders which have helped reduce man hours.

In response to the 1210811, inspection report, P. SELLNER stated they trimmed all of the animals with
long hooves and will be adding rocks to the pens. She stated that they repaired the supporting bar in
the dog enclosure. P. SELLNER stated that they installed automatic waters in the dog enclosures. She
explained that they clean the rabbit enclosures by using a torch to remove the animal hair and they
have kids who volunteer to clean the rabbit boxes. P. SELLNER stated they made a new room to store
the food in the non-human primate housing area. She stated that the baboon enclosure has been
cleaned and painted, and that this is a work in progress. They intend to paint over the rust spots and
scrub the ceiling as well. P. SELLNER stated they put telephone poles along the bottom of the fence
for re-enforcement in the Santa Cruz sheep enclosure, and they also put a top on the tiger enclosure.
She explained that they moved all of the Scottish Highlander cattle out of the pen and let it dry out.
They also added lime stone to the pen, re-did the hay feeder, filled in the low spots, and installed an
automatic watering system. P. SELLNER stated the cattle now have new hay feeders as they replaced
the old ones with larger hay feeders. She has requested advice on how to prevent the sheep and goats
from getting into the feeders. She stated that they try to clean the animal cages once or twice a week.
She stated that in the educational center they built a new room for food preparation and storage. She
stated that the employee issue was the same as before in that it is not cost effective.

In response to the 05/1612, inspection report, P. SELLNER stated the cleaned the dog enclosure
shortly after the inspectiGn. She stated they have obtained all of the materials needed to paint the main
primate building and plan on getting done the following weekend. P. SELLNER stated that the main
primate building they will scrub the ceiling and paint to clean the area up. She stated that they replaced
the garbage containers in the educational center and they now have lids on the containers (Exhibit 20).




                                                                                                Page 7of19


       Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 7 of 19
                                          Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0007
Case Number: IA120008-AC                                           Date: October 25, 2012


On 07/30/12, P. SELLNER was interviewed by Investigator Booth. P. SELLNER provided an
affidavit and stated her responses to the 07/29/12 inspection report, P. SELLNER stated she hired a
private person to shear the llama, the rabbits were cleaned and moved to the farm and she cleaned the
dog up herself. She stated that in the nonhuman primate building they cleaned and removed the debris.
She stated that in the nonhuman primate building they changed out refrigerators and made room to put
crates in. P. SELLNER stated that the primate enclosure and been cleaned and repainted. She stated
that in the educational center they have removed the recycling container and have taken care of the
flies; she explained that her veterinarian (b)(6), provided her with fly control bait and it has
controlled the flies (Exhibit 41 ).        (b)(7)C




                                                                                            Page 8of19


     Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 8 of 19
                                        Case #C14-02034 JSS                     EXHIBIT 15 PAGE 0008
Case Number: IA120008-AC                                            Date: October 25, 2012



These findings substantiate the following alleged violation(s):

         9 C.F.R. §2.40(b)(2)Attending Veterinarian and Adequate Veterinary Care.
         On 08/16/11, CHZ failed to have a 30 year old Hamadryas baboon evaluated and failed to
         have a calico buck goat hooves trimmed. On 12/08/11, CHZ failed to have four goats hooves
         trimmed. On 06129112, CHZ failed to maintain the hair coats of the llamas, an Angora rabbit
         and one sheep dog. Failure to establish and follow an adequate program of veterinary care
         can cause harm and distress to the animals and affect their health and well-being. This
         standard specifies that each dealer shall establish and maintain a program of adequate
         veterinary care that includes the use of appropriate methods to prevent injuries, control,
         diagnose, and treat diseases and injuries.

         9 C.F.R. §3.l(a) Housing Facilities, General.
         On 12/08/11, it was determined that CHZ failed to maintain a structurally sound enclosure. It
         was documented that a support rail in the dog enclosure was broken and bowed into the
         enclosure. This standard specifies that housing facilities for dogs must be designed and
         constructed so that they are structurally sound.

         9 C.F.R. §3.4(b)(3) Outdoor Housing Facilities.
         On 08/16/11, it was determined that CHZ failed to provide a housing shelter which contained
         a wind/rain break from the elements. It was documented that the licensee was using a shelter
         to house the sheepdog which did not have the required wind/rain break. This standard
         specifies that shelters in outdoor facilities must contain a floor and be provided with a
         wind/rain break in order to protect the animals from the elements.

         9 C.F.R. §3.10 Watering.
         On 12/08/11, it was determined that CHZ failed to keep water receptacles in a clean and
         sanitized manner, and failed to provide potable water. It was documented that water
         receptacles were empty at the time of inspection, and had an excessive presence of dirt and
         debris in them. This standard specifies that potable water is continually available to the dogs
         and that receptacles must be kept cleaned and sanitized..

         9 C.F.R. §3.11(b)(2) Cleaning, Sanitization, Housekeeping, and Pest Control.
         On 05/16/12, it was determined that CHZ failed to properly clean and sanitize the shelters in
         the dog enclosure. It was documented that there was excessive build-up of dirt and debris on
         the interior and exterior surfaces of the shelters. This standard specifies that the primary
         enclosure must be cleaned and sanitized at least once every two weeks.

         9 C.F.R. §3.53(a)(l) Primary Enclosures.
         On 08/16/11, CHZ failed to provide an enclosure for one Angora rabbit box that is
         structurally sound and maintained in good repair. This standard specifies that primary
         enclosures shall be structurally sound and maintained in good repair.




                                                                                               Page 9of19


      Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 9 of 19
                                          Case #C14-02034 JSS                       EXHIBIT 15 PAGE 0009
  Case Number: IA120008-AC                                             Date: October 25, 2012

  9 C.F.R. §3.56(a)(1) Sanitation.
  On 08/16111 and 12/08/11, CHZ failed to clean and maintain shelter boxes for the rabbit
  enclosures. This standard specifies that primary enclosures shall be kept reasonably free of
  excreta by periodic cleaning.

  9 C.F.R. §3.75(b) Housing Facilities, General.
  On 06/29/12, CHZ failed to clean and maintain the inside of the non~human primate building
  and the back of the bird/reptile house. This standard specifies that housing facilities, and
  areas used for storing animal food or bedding must be free of any accumulation of trash,
  waste material, junk, weeds and other discarded materials.

  9 C.F.R. §3.75(e) Housing Facilities, General.
  On 08/16/11, 12/08/11 and 06/29/12, CHZ failed to protect foodstuff from spoilage and
  contamination in the non-human primate housing area. This standard specifies that supplies
  of food must be stored in a manner that protects the supplies from spoilage.

  9 C.F.R. §3.75(c)(i) Housing Facilities, General.
  On 05/16/12, it was determined that CHZ failed to maintain surfaces free of excessive rust. It
  was documented that excessive rust was present on all the primary enclosures in the main
  primate building. This standard specifies that any surfaces that come into contact with non-
  human primate must be free of excessive rust that prevents the required cleaning and
  sanitization.

  9 C.F.R. §3.77(c) Sheltered Housing Facilities.
  On 08/16111, CHZ failed to provide lighting sufficient for a Ring-tail Lemur's well-being.
  This standard specifies that shelter housing facilities must be lighted well enough to permit
  routine inspection and cleaning of the facility.

  9 C.F.R. §3.80(a)(2)(iii) Primary Enclosures.
  On 08/16/11, CHZ failed to maintain an enclosure in such a manner that contains a one year
  old baboon. This standard specifies that primary enclosures must be constructed so they
  contain the non-human primate securely and prevent accidental opening of the enclosure.

  9 C.F.R. §3.84(a) Cleaning, Sanitization, Housekeeping, and Pest Control.
  On 08/16/11 and 06/29/12, CHZ failed to clean and maintain a macaques perch on a regular
  basis. This standard specifies that excreta and food waste must be removed from each indoor
  enclosure daily and as often as necessary to prevent an excessive accumulation.

  9 C.F.R. §3.84(b)(2) Cleaning, Sanitization, Housekeeping, and Pest Control.
  On 12/08/11 and 05/16/12, CHZ failed to clean the excessive presence of dirt, debris, and
  animal oils on the enclosure walls of the nonhuman primates' house in the reptile building.
  This standard specifies that indoor primary enclosures must be sanitized at least once every
  two weeks and as often as necessary to prevent an excessive accumulation of dirt, debris,
  waste, food waste, excreta, or disease hazard.




                                                                                      Page 10of19


Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 10 of 19
                                  Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0010
  Case Number: IA120008-AC                                           Date: October 25, 2012

  9 C.F.R. §3.84(d) Cleaning, Sanitization, Housekeeping, and Pest Control.
  On 08/16/11, CHZ failed to have an effective program to control flies and mice in the non-
  human primates housing. This standard specifies that an effect pest control program be
  established and maintained so as to promote the health and well-being of the animals.

  9 C.F.R. §3.125(a) Facilities, General.
  On 12/08/11, CHZ failed to maintain the fence in the Santa Cruz sheep enclosure. CHZ
  failed to have adequate kick-ins in the tiger enclosures. This standard specifies that the
  facility must be constructed of such material and such strength as appropriate for the animals
  involved.

  9 C.F.R. §3.125(d) Facilities, General.
  On 05/16/12 and 06/29/12, CHZ failed to maintain garbage receptacles in the educational
  center. This standard specifies that provision shall be made for the removable and disposal of
  animal and food waste.

  9 C.F.R. §3.127(b) Facilities, Outdoors.
  On 08/16/11, CHZ failed to maintain a shelter tall enough to allow the camel to stand
  comfortably within the shelter. This standard specifies that artificial shelters be appropriate to
  the local climatic conditions for the species concerned and shall be provided for all animals
  kept outdoors to afford them protection and to prevent discomfort to such animals.

  9 C.F.R. §3.127(c) Facilities, Outdoors.
  On 12/08/11, CHZ failed to maintain the enclosure housing the Scottish Highlander cattle to
  be free of water and mud. The cattle are standing in mud in order to drink and walk through it
  to get to the hay. This standard specifies that drainage be a suitable method to allow excess
  water to drain.

  9 C.F.R. §3.129(b) Feeding.
  On 12/08/11, CHZ failed to provide feeding receptacles for sheep and Scottish Highlander
  cattle in a manner that prevents contamination of the food supply to the animals. This
  standard specifies that food receptacles shall be used as to minimize contamination.

  9 C.F.R. §3.130 Watering.
 ·On 08/16/11, it was determined that CHZ failed to provide clean and sanitary water
  receptacles for the cavy, the capybara, and the bobcat. It was documented that an excessive
  presence of algae was in the water receptacles. This standard specifies that water receptacles
  must be cleaned and maintained.

  9 C.F.R. §3.131Ca) Sanitation.
 On 08/16/11 and 12/08/11, CHZ failed to clean multiple animal encfosures throughout the
 facility. This standard specifies that enclosures must be cleaned and maintained on a regular
 basis.




                                                                                        Page 11of19


Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 11 of 19
                                    Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0011
         Case Number: IA120008-AC                                              Date: October 25, 2012

         9 C.F.R. §3.131(c) Sanitation.
         On 08116111, CHZ failed to maintain open boxes of produce in the walkways of the back
         mammal housing area. In the same building there are boxes, empty feed bags, bags of feed,
         and open bags of feed; none of which are maintained in an orderly fashion. This standard
         specifies that premises shall be kept clean and in good repair in order to protect the animals
         from injury and to facilitate the prescribed husbandry practices set forth in this subpart.

         9 C.F.R. §3.131(d) Sanitation.
         On 08116111, 12/08111, 05/16/12 and 06/29/12, CHZ failed to have an effective fly control
         program throughout the facility. The presence of flies can increase disease risks. It also does
         not provide for the comfort of the animals. There is also an excessive presence of gnat like
         insects. This standard specifies that a safe and effective program for the control of insects be
         established and maintained.

         9 C.F.R. §3.132 Employees.
         On 08/16/11 and 12/08111, CHZ failed to have a sufficient number of adequately trained
         employees. The prior three inspection reports have documented a significant number of
         noncompliant items. The facility owners currently have other jobs and are the only ones
         doing work at the regulated facility. This standard specifies that a sufficient number of
         adequately trained employees shall be utilized to maintain the professionally acceptable level
         of husbandry practices set forth in this subpart.



These findings indicate that the evidence does not support a violation of the following section(s):

         NIA




                                                                                               Page 12of19


       Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 12 of 19
                                           Case #C14-02034 JSS                        EXHIBIT 15 PAGE 0012
 Case Number: IA120008-AC                                                 Date: October 25, 2012


                      MITIGATING AND/OR AGGRAVATING FACTORS

The P. SELLNER was cooperative during the investigative process and demonstrated a willingness to
comply with the AWA.




                                     ADDITIONAL INFORMATION


Copies of APHIS 7003 & 7007 Forms and License Certificates document that CHZ is licensed with
USDA as a Class C Exhibitor with the license number of 42-C-0084 and customer number 5143
(Exhibit 42).

On May 26, 2011, USDA-APHIS-AC issued an APHIS Form 7060 Official Warning, for violations of
Federal Regulations to CHZ. These violations were documented during USDA inspections conducted
on the dates of02/16/11, 11/22/10, and 07/29/10 (Exhibit 43).

In December 2006, USDA-APHIS-AC issued a Settlement Agreement for $4,035, for violations of
Federal Regulations to CHZ. These violations were documented for USDA case number IA06043-AC
rnxhibit 44) .•

On December 15, 2004, USDA-APHIS-AC issued an APHIS Form 7060 Official Warning, for
violations of Federal Regulations to CHZ. These violations were documented during USDA
inspections conducted on the dates of 08/26/04, 10/20/04 (Exhibit 45).

On June 30, 2011, July 25, 2011 and September 06, 2011, USDA-APHIS-AC received complaints
from the general public about the conditions at CHZ (Exhibit 46).

On June 28, 2012, Iowa Department of Agriculture and Land Stewardship (IDALS) received a
complaint from the general public about the conditions at CHZ (Exhibit 47).

On July 30, 2012 (b)(6), (b)(7)C (IDALS) Compliance Investigator completed a welfare check of
CHZ with USDA-APHIS-AC- Neis. (b)(6), (b) completed an IDALS Compliance Report to document
the inspection (Exhibit 48).       (7)C

A copy of(b)(6), (b)(7)C               PC welfare check documents the walk thru ofCHZ that (b)(6),
did on July 16, 2012 (Exhibit 49).                                                             (b)(7)C

A copy of an email received from SELLNER documenting the extra security they put in place do to
the harassment of emails from animal activist groups (Exhibit 50).

A copy of Delaware County Sheriff Office Report, documenting a welfare check at CHZ from a
complaint they received. (b)(6), (b)(7)C advised that all animals had water and shelter (Exhibit 51 ).

                                                                                              Page 13of19


       Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 13 of 19
                                            Case #C14-02034 JSS                      EXHIBIT 15 PAGE 0013
Case Number: IA120008-AC                                           Date: October 25, 2012

Copy of Delaware County Sheriff Office Report, showing suspicious activity at CHZ. This activity
was called in by SELLNER. Deputy Welcher advised ladies at CHZ were taken unusual pictures of the
facility and asking lots of questions (Exhibit 52).

Copies of emails submitted to USDA, that CHZ received from animal activist on Facebook. (Exhibit
2-J.).

Copy of an email submitted to USDA, from Dr. Eiben IDALS, showing support of the issues at CHZ
(Exhibit 54).

Copies of filed documents with the Iowa Secretary of State's office document the non-profit
corporation status and information of CHZ (Exhibit 55).




                                                                                         Page 14of19


      Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 14 of 19
                                         Case #C14-02034 JSS                      EXHIBIT 15 PAGE 0014
Case Number: IAl20008-AC                                            Date: October 25, 2012

                                     WITNESS LIST
                  Provide First, MI and Last Name with Complete Address

Name                           Title                           Address I Phone Number
(b)(6), (b)                    Senior Investigator             USDA-APHIS-IES
(7)C                                                           2150 Centre Avenue
                                                               Bldg. (b)(6),
                                                                     (b)(7)C CO 80526
                                                               Fort Collins,
                                                               (b)(6), (b)(7)C
(b)(6), (b)(7)C                Veterinary Medical Officer      USDA-AP HIS-AC
                                                               2150 Centre Avenue
                                                               Bldg. (b)(6),
                                                                     (b)(7)C CO 80526
                                                               Fort Collins,
                                                               (b)(6), (b)(7)C
(b)(6), (b)(7)C                Animal Care Inspector           USDA-APHIS-AC
                                                               2150 Centre Avenue
                                                               Bldg. (b)(6),
                                                                     (b)(7)C CO 80526
                                                               Fort Collins,
                                                               (b)(6), (b)(7)C
(b)(6), (b)                    Animal Care Inspector           USDA-APHIS-AC
(7)C                                                           2150 Centre Avenue
                                                               Bldg. (b)(6),
                                                                     (b)(7)C CO 80526
                                                               Fort Coliins,
                                                               (b)(6), (b)(7)C
(b)(6), (b)(7)C                Attending Veterinarian         (b)(6), (b)(7)C




(b)(6), (b)(7)C                Area Manager                    USDA-APHIS-IES
                                                               2150 Centre Avenue
                                                               (b)(6), (b)(7)C
                                                               Fort Collins, CO 80526
                                                               (b)(6), (b)(7)C
(b)(6), (b)(7)C                Office Support                  USDA-APHIS-IES
                                                               2150 Centre A venue
                                                               (b)(6), (b)(7)C
                                                               Fort Collins, CO 80526
                                                            (b)(6), (b)(7)C
(b)(6), (b)(7)C                Deputies                        Delaware County Sheriff Office
                                                               304 East Delaware Street
                                                               Manchester, IA 52057
                                                               (563) 927-
                                                               www.co.delaware.ia.us/



                                                                                         Page 15 ofl9


       Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 15 of 19
                                    Case #C14-02034 JSS                          EXHIBIT 15 PAGE 0015
       Case Number: IA120008-:.AC                                   Date: October 25, 2012


                                    CASE REPORT DISTRIBUTION (cc)


       Program Official(s)
       Dr. Robert M. Gibbens
       Western Regional Director
       USDA-APHIS-AC
       2150 Centre Avenue
       Bldg. B-3W11
       Fort Collins, CO 80526
       (970) 494-7478

       JES Manager(s)
       Larry Carson
       USDA-APHIS-IES
       2150 Centre Avenue
       Bldg. B-3Wl 0
       Fort Collins, CO 80526
      (970) 494-7485

                                           CASE UPDATES


       Program Official(s)
       Dr. Robert M. Gibbens
       Western Regional Director
       USDA-APHIS-AC, CO

       Primary Investigator
   (b)(6), (b)(7)C


       IES Area Manager
(b)(6), (b)(7)C


       JES Deputy Regional Director
  (b)(6), (b)(7)C



       JES Regional Director
(b)(6), (b)(7)C




                                                                                      Page 16of19


                  Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 16 of 19
                                            Case #C14-02034 JSS               EXHIBIT 15 PAGE 0016
Case Number: IA120008-AC                                        Date: October 25, 2012


                                        EXHIBIT LIST

Exhibit#     Description                                      Date           Total Pages
 1           Investigation Request letter from Dr. Robert     04109112       1
             Gibbens.
2            Copy ofUSDA-APHIS-AC inspection report.          08/16111       6

3            Photographs showing Hamadryas baboon and         08/16/11       10
             long hooves on a goat.
4            Photographs showing no floor or wind and rain    08/16/11       2
             break.
5            Photograph showing.excessive presence ofrabbit   08/16/11       1
             waste.
6            Photographs showing excessive presence of hair   08/16/11       4
             and animal waste.
7            Photograph showing improper storage of           08/16/11        1
             foodstuffs.
8            Photographs showing an escaped baboon.           08/16/11       3

9           Photographs showing excessive build-up of         08/16/11       4
            animal waste.
10          Photographs showing excessive presence of fly     08/16/11       2
            and fly waste.
11          Photographs showing camel shelter knocked from    08116/11       2
            it base.
12          Photographs showing excessive algae build-up in   08/16/11       6
            water receptacles.
13          Photographs showing excessive animal waste.       08/16/11       12

14          Photographs showing improper storage.             08/16/11       4

15          Photographs showing excessive fly waste.          08/16/11       1

16          Copy of CD containing photos of CHZ.              04/24/12       1

17          Original declaration by Investigator (b)(6),      07/10/12       1
                                                 (b)
18          Copy of(b)(6), r report by (b)(6),   (7)C         08/24111       1
                   (b)(7)C             (b)(7)C
19          Copy of (b)(6), (b)(7)C       c invoice           08/25/11       1
            #84167.
20          Original APHIS Form 7162 affidavit by Pamela      07/11/12       13
            Sellner.
21          Copy of USDA-APHIS-AC inspection report.          12/08/11       5

                                                                                  Page 17of19


     Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 17 of 19
                                       Case #C14-02034 JSS                EXHIBIT 15 PAGE 0017
22         Photographs showing excessively long hooves.        12/08/11       2

23         Photographs showing damage and the structure        12/08/11       2
           are not sound.
24         Photographs showing dogs not being watered and      12/08/11       3
           excessively dirty.
25         Photographs showing excessive presence of           12/08/11       4
           animal waste.
26         Photographs showing foodstuffs stored in open       12/08/11       4
           containers.
27         Photographs showing excessive presence of dirt,     12/08/11       4
           debris, and animal oils.
28         Photographs showing damage fence and tiger          12/08/11       5
           enclosures without tops on them.
29         Photographs showing cattle standing in mud.         12/08111       3

30         Photograph showing sheep standing in feeders.       12/08/11       1

31         Photographs showing excessive presence of           12/08/11       5
           animal waste.
32         Copy ofUSDA-APHIS-AC inspection report.             05116/12       3

33         Photographs showing excessive build-up of dirt      05/16/12       2
           and debris.
34         Photographs showing excessive rust.                 05/16/12       5

35         Copy of USDA-APHIS-AC inspection report.            06/29/12       3

36         Photographs showing long matted hair.               06129112       9

37         Photographs showing old bedding, dirt, and feces.   06129112       7

38         Photographs showing open box of foodstuff.          06/29/12       1

39         Photographs showing food and animal waste.          06/29/12       2
                                               ~




40         Photographs showing open garbage receptacles.       06/29/12       2

41         Original APHIS Form 7162 affidavit by Pamela        07/30/12       3
           Sellner.
42         Copies of application and licensee for CKZ.         2009-2012      6

43         Copy of letter and 7060 issued to CHZ.              05/26/11       3

44         Copy of letter and Settlement Agreement issued      2006           2
           toCHZ.
45         Copy of letter and 7060 issued to CHZ.              2004           3


                                                                                   Page 18of19


     Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 18 of 19
                                     Case #C14-02034 JSS                   EXHIBIT 15 PAGE 0018
46         Copies of complaint letters submitted to USDA-    2011          10
           AP HIS-AC.
47         Copies of complaint letter and emails submitted   06/28112      16
           to USDA.                                          06/29/12
48         Copy of IDALS Compliance Report.                  07/30/12      28

49         Copy of Elkader Veterinary Clinic report.         07/16/12       I

50         Copy of email submitted to USDA.                  07/21112      1

51         Copy of Delaware Co. Sheriffs report.             06/28/12      2

52         Copy of Delaware Co. Sheriffs report.             07/22/12      3

53         Copies of emails submitted to USDA from CHZ.      07/29/12      13

54         Copy of email submitted to USDA from IDALS.       07/29/12       1

55         Original business entity summary from Iowa        08/08/12      3
           Secretary of State for CHZ.




                                                                                Page 19of19


     Case 6:14-cv-02034-JSS Document 70-15 Filed 10/16/15 Page 19 of 19
                                    Case #C14-02034 JSS                 EXHIBIT 15 PAGE 0019
